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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                   CR 1:15-107

WILLIAM MARK MCGHEE




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Alex M. Brown, having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Alex M. Brown be granted leave of

absence for the following period: March 10, 2016 through March 14, 2016; April

6, 2016; April 19, 2016 through May 2, 2016 and May 19, 2016 through May

20, 2016.

      This JJ__d2Ly ofJanuary, 2016.




                                       HONORABLE J. RANDAL HALL
                                       United/States District Judge
                                            tern District of Georgia
